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                             Exhibit
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DOE NUMBER: 831
MARKETPLACE: Other
MERCHANT NAME: moonlightooze
SELLER ID: moonlightooze.com
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DOE NUMBER: 832
MARKETPLACE: Other
MERCHANT NAME: movingtune
SELLER ID: movingtune.com
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DOE NUMBER: 839
MARKETPLACE: Other
MERCHANT NAME: onalevelwith
SELLER ID: onalevelwith.com
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DOE NUMBER: 840
MARKETPLACE: Other
MERCHANT NAME: opportunuity
SELLER ID: opportunuity.com
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DOE NUMBER: 847
MARKETPLACE: Other
MERCHANT NAME: purebluestars
SELLER ID: purebluestars.com
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DOE NUMBER: 858
MARKETPLACE: Other
MERCHANT NAME: semi-sugarism
SELLER ID: semi-sugarism.com
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DOE NUMBER: 870
MARKETPLACE: Other
MERCHANT NAME: smarts-blue
SELLER ID: smarts-blue.com
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DOE NUMBER: 871
MARKETPLACE: Other
MERCHANT NAME: somethebest
SELLER ID: somethebest.com
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DOE NUMBER: 877
MARKETPLACE: Other
MERCHANT NAME: subtlecloud
SELLER ID: subtlecloud.com
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Case 1:23-cv-22322-DSL Document 130-4 Entered on FLSD Docket 10/14/2023 Page 75 of
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DOE NUMBER: 878
MARKETPLACE: Other
MERCHANT NAME: sunnylada
SELLER ID: sunnylada.com
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DOE NUMBER: 879
MARKETPLACE: Other
MERCHANT NAME: sunshinebl
SELLER ID: sunshinebl.com
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DOE NUMBER: 880
MARKETPLACE: Other
MERCHANT NAME: superbzeal
SELLER ID: superbzeal.com
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DOE NUMBER: 883
MARKETPLACE: Other
MERCHANT NAME: swan-sunny
SELLER ID: swan-sunny.com
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DOE NUMBER: 888
MARKETPLACE: Other
MERCHANT NAME: theflycloud
SELLER ID: theflycloud.com
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DOE NUMBER: 891
MARKETPLACE: Other
MERCHANT NAME: tophotred
SELLER ID: tophotred.com
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DOE NUMBER: 904
MARKETPLACE: Other
MERCHANT NAME: witmethod
SELLER ID: witmethod.com
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DOE NUMBER: 906
MARKETPLACE: Other
MERCHANT NAME: alcartoonly
SELLER ID: www.alcartoonly.com
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DOE NUMBER: 907
MARKETPLACE: Other
MERCHANT NAME: allhaulm
SELLER ID: www.allhaulm.com
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DOE NUMBER: 909
MARKETPLACE: Other
MERCHANT NAME: bulk-supplement
SELLER ID: www.bulk-supplement.com
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DOE NUMBER: 910
MARKETPLACE: Other
MERCHANT NAME: confidencem
SELLER ID: www.confidencem.com
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DOE NUMBER: 911
MARKETPLACE: Other
MERCHANT NAME: costumebrand
SELLER ID: www.costumebrand.com
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DOE NUMBER: 912
MARKETPLACE: Other
MERCHANT NAME: embravewise
SELLER ID: www.embravewise.com
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DOE NUMBER: 913
MARKETPLACE: Other
MERCHANT NAME: goblinpocket
SELLER ID: www.goblinpocket.com
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DOE NUMBER: 914
MARKETPLACE: Other
MERCHANT NAME: happyhours-rover
SELLER ID: www.happyhours-rover.com
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DOE NUMBER: 915
MARKETPLACE: Other
MERCHANT NAME: implicitm
SELLER ID: www.implicitm.com
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DOE NUMBER: 916
MARKETPLACE: Other
MERCHANT NAME: inputependa
SELLER ID: www.inputependa.com
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Case 1:23-cv-22322-DSL Document 130-4 Entered on FLSD Docket 10/14/2023 Page 207 of
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DOE NUMBER: 917
MARKETPLACE: Other
MERCHANT NAME: magicport
SELLER ID: www.magicport.net
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DOE NUMBER: 918
MARKETPLACE: Other
MERCHANT NAME: milletgo
SELLER ID: www.milletgo.com
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DOE NUMBER: 919
MARKETPLACE: Other
MERCHANT NAME: mite-wood
SELLER ID: www.mite-wood.com
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DOE NUMBER: 922
MARKETPLACE: Other
MERCHANT NAME: puppup
SELLER ID: www.puppup.net
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DOE NUMBER: 923
MARKETPLACE: Other
MERCHANT NAME: rationalu
SELLER ID: www.rationalu.com
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DOE NUMBER: 924
MARKETPLACE: Other
MERCHANT NAME: supvogue
SELLER ID: www.supvogue.com
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DOE NUMBER: 927
MARKETPLACE: Other
MERCHANT NAME: youngfight
SELLER ID: youngfight.com
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